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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                      10/16/2020
 United States of America,

                 –v–
                                                                                  12-cr-844 (AJN)
 Eric Fernandez,
                                                                                     ORDER
                         Defendant.




ALISON J. NATHAN, District Judge:

        On October 14, 2020, the Court granted the defendant’s motion for compassionate release

and ordered the defendant released from the custody of the Bureau of Prisons (“BOP”). The

Court further resentenced the defendant to a sentence of time served plus five years of supervised

release; and therefore it is

        ORDERED that the mandatory, standard, and special conditions of supervised release

listed in the Judgment dated April 10, 2015, (Dkt. No. 256), are reimposed;

        IT IS FURTHER ORDERED that, as an additional condition of supervised release, the

defendant, following his release from incarceration, shall immediately travel to his family home

in Puerto Rico, where he shall self-isolate for a period of 14 days. During that 14-day period, the

defendant will not leave the residence except to obtain necessary medical care;

        IT IS FURTHER ORDERED that the defendant shall serve the first 12 months of

supervised release on home detention, to be enforced by location monitoring technology at the

discretion of the officer at the residence approved by probation. During that 12-month period,

the defendant must obtain permission from the Probation Department prior to leaving his home,

except in the case of a medical emergency.
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      SO ORDERED.


Dated: October 16, 2020                  __________________________________
       New York, New York                         ALISON J. NATHAN
                                                United States District Judge




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